Case 14-00748-jw            Doc 44        Filed 04/06/19 Entered 04/06/19 11:21:19                        Desc Main
                                          Document      Page 1 of 6



                                   UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF SOUTH CAROLINA

 IN RE:                                                       CASE NO: 14-00748
                                                              CHAPTER 13
 JESSICA DESANTIS,
                                             DEBTOR(S)        CERTIFICATION OF PLAN COMPLETION AND
                                                              REQUEST FOR DISCHARGE

 The above-captioned debtors certify under penalty of perjury that the following are true and correct:

 1)   All plan payments have been completed and the debtor is entitled to a discharge.

 2) Pursuant to 11 U.S.C. § 1328(a), all amounts payable for domestic support obligations due on or before
 the date set forth below (including any amounts due before the filing of the bankruptcy petition to the extent
 provided for by the plan) have been paid to:

 Name:    None/not applicable

 The debtor's employer and address:

 Name:    Florida Department of Corrections

 Address: 7424 Laurel Hill Drive, Orlando, Florida 32818

 Claims that were not discharged pursuant to 11 U.S.C. § 523(a)(2) or (4): NONE

 Debts that were reaffirmed under 11 U.S.C. § 524(c):       None

 3) The provisions of 11 U.S.C. § 522(q)(1) are not applicable to this case under 11 U.S.C. § 1328(h) and
 there are no proceedings pending against the debtor of the kind described in 11 U.S.C. § 522(q)(1)(A) or
 522(q)(1)(B).

 4) The debtor has not received a discharge in a case filed under 7, 11, or 12 of this title during the 4-year
 period preceding the date of the order for relief under this chapter, or in a case filed under chapter 13 of this title
 during the 2-year period preceding the date of such order.

 5) The debtor has completed an instructional course concerning personal financial management described in
 11 U.S.C. § 111 and has either previously filed Official Form 23 so certifying with the Court, or such
 certification and accompanying documents are being contemporaneously filed herewith.

 The undersigned requests that a discharge be granted in accordance with 11 U.S.C. § 1328.

 DATE: April 6, 2019

 /S/ Jessica DeSantis_________

 Debtor
Case 14-00748-jw           Doc 44        Filed 04/06/19 Entered 04/06/19 11:21:19                      Desc Main
                                         Document      Page 2 of 6


                                      EXHIBIT B TO SC LBR 3015-5


                                   UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF SOUTH CAROLINA

 IN RE:                                                     CASE NO: 14-00748
                                                            CHAPTER: 13
 JESSICA DESANTIS,
                                                            NOTICE OF CERTIFICATION OF PLAN
                                            DEBTOR(S)       COMPLETION AND REQUEST FOR DISCHARGE

 To: The Trustee and to all creditors and parties in interest:

 YOU ARE HEREBY NOTIFIED that the above-captioned debtor has requested a discharge pursuant to 11
 U.S.C. § 1328(a) in the above case. A copy of the Certification of Plan Completion and Request for Discharge
 is attached. Your rights may be affected. You should read these papers carefully and discuss them with
 your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to
 consult one.)

 If you have any reason to believe that the provisions of 11 U.S.C. § 522(q)(1) apply to this debtor or that there
 is pending any proceeding in which the debtor may be found guilty of a felony of the kind described in 11
 U.S.C. § 522(q)(1)(A) or liable for a debt of the kind described in 11 U.S.C. § 522(q)(1)(B) or that the debtor is
 otherwise not entitled to a discharge, then you or your attorney must:

          1.   File with the Court a written response to the Certification, specifying the basis for your response,
               no later than fourteen (14) days from the date of service of this Notice, and mail a copy to:

 Craig Joseph Poff, Esq.

 704 Prince Street

 Beaufort, South Carolina 29902

 Jessica DeSantis

 9029 Thomasville Drive, Winter Haven, FL 33884

 2. Attend the hearing to be held as indicated below.

 PLEASE TAKE FURTHER NOTICE that no hearing will be held on the Request for Discharge unless a
 response is timely filed and served, in which case, the Court will conduct a hearing on MAY 9, 2019 at 9:00
 a.m. at 145 King Street, Charleston, South Carolina. No further notice of this hearing will be given.

 IF YOU OR YOUR ATTORNEY DO NOT TAKE THESE STEPS, THE COURT MAY ENTER AN ORDER
 GRANTING THE RELIEF REQUESTED.

 Date of Service: April 6, 2019                _/s/ Craig Joseph Poff_____________________
                                               Signature of Attorney/Pro Se Debtor
                                               Craig Joseph Poff, Esq. #5212
                                               704 Prince Street
                                               Beaufort, South Carolina 29902
                                               843-521-0995
Case 14-00748-jw          Doc 44      Filed 04/06/19 Entered 04/06/19 11:21:19                   Desc Main
                                      Document      Page 3 of 6


                                            843-521-0038 Fax
                                            pofflawoffice@aol.com

 Beaufort, SC

 April 6, 2019

          THIS WILL CERTIFY that a copy of the foregoing was mailed, postage prepaid, US Mail, to the
 following Creditors and counsel who have made an appearance in this matter, and to the Chapter 13 and United
 States Trustees Office, both care of the ECF system maintained by this Court.

 /s/ Craig Joseph Poff____________
 Craig Joseph Poff
 Attorney for Debtor
 704 Prince Street
 Beaufort, SC 29902
 843-521-0995

 Aaron's SALO Lockbox
 P.O. Box 102746
 Atlanta, GA 30368(542584114)
 (cr)Aarons
 11 Robert Smalls Parkway
 Beaufort SC 29906(542512520)
 (cr)Ally Financial
 Post Office Box 38902
 Minneapolis MN 55438(542512521)
 (cr)Ally Financial serviced by Ally Servicing LLC
 P.O. Box 130424
 Roseville, MN 55113-0004(542514875)
 (cr)American Adjustment Bureau
 Post Office Box 2758
 Waterbury CT 06723(542512522)
 (cr)Ashley Funding Services, LLC its successors and
 assigns as assignee of Laboratory
 Corporation of America Holdings
 Resurgent Capital Services
 PO Box 10587
 Greenville, SC 29603-0587(542577712)
 (cr)Austin Chase Apartments
 59 Summerlake Circle
 Ridgeland SC 29936(542512523)
 (cr)Banfield Pet Hospital
 30 Malphrus Place
 Suite 106
 Bluffton SC 29910(542512524)
 (cr)Beaufort County Treasurer
 Post Office Box 487
 Beaufort SC 29901(542512525)
Case 14-00748-jw    Doc 44    Filed 04/06/19 Entered 04/06/19 11:21:19   Desc Main
                              Document      Page 4 of 6


 (cr)Beaufort ENT
 1231 Ribaut Road
 Beaufort SC 29902(542512526)
 (cr)Beaufort Medical Imaging, Inc.
 Post Office Box 49009
 Greenwood SC 29649(542512527)
 (cr)Beaufort Memorial Hospital
 Post Office Box 1085
 Beaufort SC 29901(542512528)
 (cr)Beaufort Memorial Hospital
 Post Office Box 1085
 Beaufort SC 29901(542512529)
 (cr)Beaufort Memorial Physicians
 Post Office box 100106
 Columbia SC 29202(542512530)
 (cr)Bolton Veternarian Hospital
 222 Boston Turnpike
 Bolton CT 06043(542512531)
 (cr)Camp Green Dog
 1190 Argent Boulevard
 Ridgeland SC 29936(542512532)
 (cr)Capital One
 Post Office Box 70884
 Charlotte NC 28272(542512535)
 (cr)Capital One
 Post Office Box 70884
 Charlotte NC 28272(542512534)
 (cr)Capital One
 Post Office Box 30281
 Salt Lake City UT 84130(542512533)
 (cr)Century Link
 Post Office Box 96064
 Charlotte NC 28296(542512536)
 (cr)Connecticut Department of Labor
 Post Office Box 30290
 Hartford CT 06150(542512537)
 (cr)CREDIT FIRST N A
 PO BOX 818011
 CLEVELAND OHIO 44181(542551069)
 (cr) Creditor committeeEntityCredit One Bank
 Post Office Box 60500
 City Of Industry CA 91716(542512538)
 (cr)Firestone Complete Auto Care
 Post Office Box 81410
 Cleveland OH 44181(542512539)
 (cr)HRRG-ASC Emergency Physician
Case 14-00748-jw    Doc 44   Filed 04/06/19 Entered 04/06/19 11:21:19   Desc Main
                             Document      Page 5 of 6


 Post Office Box 189053
 Fort Lauderdale FL 33318(542512540)
 (cr)Jefferson Capital Systems, LLC
 PO Box 7999
 Saint Cloud, MN 56302-9617(543397165)
 (cr)LabCorp
 Post Office Box 2240
 Burlington NC 27216(542512541)
 (cr)LVNV Funding, LLC its successors and assigns as
 assignee of FNBM, LLC
 Resurgent Capital Services
 PO Box 10587
 Greenville, SC 29603-0587(542577434)
 (cr)Main Street Acquisition Corp., assignee
 of HSBC FFAM
 c o Becket and Lee LLP
 POB 3001
 Malvern, PA 19355-0701(542534713)
 (cr)Manchester Memorial Hospital
 71 Haynes Street
 Manchester CT 06040(542512543)
 (cr)Manchester Memorial Hospital
 71 Haynes Street
 Manchester CT 06040(542512542)
 (cr)Merchants Credit Association
 4110 Clemson Boulevard
 Suite A
 Anderson SC 29621(542512544)
 (cr)Palmetto Eye Specialists
 220 Pembroke Drive
 Suite 100
 Hilton Head Island SC 29926(542512545)
 (cr)Portfolio Recovery Associates, LLC
 POB 12914
 Norfolk VA 23541(542581126)
 (cr)Portfolio Recovery Associates, LLC
 POB 41067
 Norfolk, VA 23541(543253357)
 (cr)Regional Acceptance
 Post Office Box 830915
 Birmingham AL 35283(542512546)
 (cr)Regional Acceptance Corporation
 PO Box 1847
 Wilson, NC 27894-1847(542585006)
 (cr)Regional Finance
 2303 Boundary Street
Case 14-00748-jw   Doc 44    Filed 04/06/19 Entered 04/06/19 11:21:19   Desc Main
                             Document      Page 6 of 6


 Suite 3
 Beaufort SC 29902(542512547)
 (cr)REGIONAL MANAGEMENT CORPORATION
 PO BOX 776
 MAULDIN, SC 29662
 (864) 546-3404(542515522)
 (cr)Sprint
 Post Office Box 7949
 Overland Park KS 66207(542512548)
 (cr)Sprint Corp.
 Attn Bankruptcy Dept
 PO Box 7949
 Overland Park KS 66207-0949(542517046)
 (cr)St. Francis Hospital
 114 Woodland Road
 Hartford CT 06105(542512549)
 (cr)Town of Manchester Connecticut
 41 Center Street
 Manchester CT 06040(542512550)
 (cr)U.S. Department of Education
 Post Office Box 530260
 Atlanta GA 30353(542512552)
 (cr)U.S. Department of Education
 Post Office Box 530260
 Atlanta GA 30353(542512551)
 (cr)United Telephone Company of the Carolinas, LLC d/b
 CenturyLink Bankruptcy
 359 Bert Kouns
 Shreveport, La 71106(542516617)
 (cr)US Department of Education
 Post Office Box 4169
 Greenville TX 75403(542512553)
 (cr)
